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                                                                                                                      October 31, 2022

   VIA ECF

   The Honorable Tonianne J. Bongiovanni, U.S.M.J.
   United States District Court
   Clarkson S. Fisher Federal Building & U.S. Courthouse
   402 East State Street
   Trenton, NJ 08608

           Re:          Supernus Pharmaceuticals, Inc. v. Apotex Inc., et al.,
                        Civil Action No. 20-7870 (FLW)(TJB) (consolidated)

  Dear Judge Bongiovanni:

          This firm, together with Haug Partners LLP, represents plaintiff Supernus
  Pharmaceuticals, Inc. (“Supernus”) in the above-captioned matter. We write on behalf of all
  parties, pursuant to the September 8, 2022 Text Minute Entry, to provide the following status
  update regarding discovery: (i) the parties are working together to address certain outstanding
  discovery issues without the need for court intervention; and (ii) there are currently no discovery
  disputes ripe for the Court’s consideration.

           Thank you for Your Honor’s kind attention to this matter.

                                                                                                                      Respectfully yours,



                                                                                                                      William C. Baton

  cc: All Counsel (via email)




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